       Case 2:15-md-02641-DGC Document 14016-1 Filed 12/21/18 Page 1 of 1



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7                          IN THE UNITED STATES DISTRICT COURT

8                               FOR THE DISTRICT OF ARIZONA

9    IN RE: Bard IVC Filters Products Liability        No. 2:15-MD-02641-DGC
     Litigation
10                                                     ORDER
11
12         Upon consideration of Defendants C. R. Bard, Inc.’s and Bard Peripheral Vascular,
13   Inc.’s (collectively, “Bard”) Motion to Strike Portions of Dr. McMeeking’s Tinlin Rule 26
14   Report, and for good cause shown, the Motion is hereby granted.
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